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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CAROL ANN READY,
                                                     Case No.: 1:22-cv-05385
                              Plaintiff,

                       vs.                             NOTICE OF NON-OPPOSITION TO
                                                      DEFENDANT DAILY HARVEST, INC.’S
                                                      MOTION TO COMPEL ARBITRATION
DAILY HARVEST, INC.,                                      AND STAY PROCEEDINGS
                              Defendant.


       PLEASE TAKE NOTICE that there has been no opposition to the motion filed by

Defendant Daily Harvest, Inc. (“Daily Harvest”) on July 7, 2022, seeking to compel Plaintiff Carol

Ann Ready to arbitrate her claims pursuant to the contract in place between Daily Harvest and Ms.

Ready. See Dkt. Nos. 9-12. Pursuant to Local Civil Rule 6.1(b), any opposition to Daily Harvest’s

motion was due within 14 days after service of the moving papers. Although Ms. Ready filed a

First Amended Complaint on July 14 that added several “John Doe Corporations” to her lawsuit

(see Dkt. No. 18), and sought leave on July 15 to file a Second Amended Complaint that would

name a particular corporation as an additional defendant (see Dkt. No. 19), neither of these

amendments change even a single word of Ms. Ready’s claims against Daily Harvest. Her

amendments should neither extend Ms. Ready’s time to respond to Daily Harvest’s motion nor

require Daily Harvest to re-file its motion. In that Daily Harvest’s motion is well-founded and Ms.

Ready did not oppose it within the time frame contemplated by the Local Rules, Daily Harvest

submits that the Court should grant the motion in its entirety.




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July 28, 2022                     Respectfully Submitted,
New York, New York
                                  FAEGRE DRINKER BIDDLE & REATH LLP

                                  By:       /s/ Jeffrey S. Jacobson

                                         Jeffrey S. Jacobson
                                         Justin M. Ginter
                                         1177 Avenue of the Americas, 41st Floor
                                         New York, New York 10036
                                         (212) 248-3140
                                         jeffrey.jacobson@faegredrinker.com
                                         justin.ginter@faegredrinker.com

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                                         Sarah L. Brew, admitted pro hac vice
                                         2200 Wells Fargo Center
                                         90 South Seventh Street
                                         (612) 766-7000
                                         sarah.brew@faegredrinker.com

                                         Attorneys for Daily Harvest, Inc.




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